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                                   The Law Office of
                                   Michael L. Lambert
                                         369 Lexington Ave
                                       2nd Floor, PMB#229
                                      New York, NY, 10016
                                         Ph: (917) 743-7071
                                   Email: mariel.colon8@gmail.com

                                                                                  May 9, 2019


      The Honorable Brian M. Cogan
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, New York 11201


                     Re:     United States v. Joaquín Archivaldo Guzmán Loera
                             Case No. 09-CR-0466 (S-4)(BMC)

      Your Honor:

               I am writing on behalf of defendant Joaquín Guzmán Loera to respectfully request
      that the Court order the Bureau of Prisons (“BOP”) to allow Mr. Guzmán to have at least
      two hours of outdoor recreation a week, access to general population commissary, the
      ability to purchase six water bottles every week, and access to a set of earplugs in order to
      alleviate his ear pain, and to assist his ability to sleep.

              Recognizing the difficulty in dealing with MCC’s administrative process, the
      Court advised, “If defendant encountered similar problems in the future, he may bring
      those issues to the attention of the Court.” See Dkt. No. 71, at p. 8. Therefore, we are
      seeking an order directing the BOP to grant Mr. Guzmán access to outdoor exercise,
      earplugs, general population commissary privilege, and that he be permitted to purchase
      of six water bottles every week.

                                           BACKGROUND

             Mr. Guzmán has been detained for 27 months at the Unit 10 South of the Special
      Housing Unit of the Metropolitan Correctional Center in New York (“MCC”) in solitary
      confinement, in conditions that violate the Eighth Amendment’s ban on cruel and unusual
      punishment, as well as fundamental norms of human decency. See Apodaca v. Raemish,
      139 S. Ct. 5, 8 202 L. Ed. 2d 251 (2018) (“Courts and corrections officials must
      accordingly remain alert to the clear constitutional problems raised by keeping
      prisoners…in near-total isolation from the living world...”)


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               Even when Mr. Guzmán was a pretrial detainee, and, therefore, presumed
      innocent, he was placed and has remained in the MCC’s Special Housing Unit (“SHU”)
      despite not having committed a single violation of the prison’s rules. As per the Court’s
      order, the Special Administrative Measures (“SAMs”) were imposed on Mr. Guzmán
      because of, “a legitimate government objective…of preventing defendant from running
      the Sinaloa Cartel from prison, coordinating any escape from prison, or directing any
      attack on individuals that he may believe are cooperating with the Government.” See Dkt.
      No 71, at p. 5.

               Presently, pursuant to the SAMs, Mr. Guzmán is confined to a small, windowless
      cell, of approximately 10 x 8 feet. Mr. Guzmán is permitted a single hour of solitary
      exercise from Monday through Friday in another indoor cell that contains one stationary
      bicycle. On the weekends, he is not permitted any exercise. Mr. Guzmán has been over
      two years now without any access to fresh air or natural sunlight. Furthermore, the light
      in his cell is always on, leading to serious issue of sleep deprivation.

              As your Honor pointed out, “defendant’s conduct during what are surely difficult
      proceedings and conditions of confinement for him has been exemplary, and he has
      displayed considerable grace under pressure.” See Dkt. No 426, at p. 1. Mr. Guzmán has
      behaved in an exemplary fashion in the 27 months that he has been in custody. Mr.
      Guzmán has never been disrespectful, disruptive, or violent, towards any MCC staff
      member, and has never had a single write up. Yet, his detention is far more onerous than
      that of detainees being punished for acts of violence within the prison, and other
      infractions of the rules. These conditions are excessively punitive given his established
      track record of behavior thus far.

              One of the most damaging conditions is the lack of sunlight and fresh air. This
      deprivation of sunlight and fresh air, over an excessive 27-month period, is causing
      psychological scarring. He has complained to his attorneys that he is suffering many
      symptoms of distress as a result of this lengthy unwarranted punishment. As previously
      mentioned before in a letter asking the Court to modify the SAMs, “Mr. Guzmán was
      showing signs of mental fatigue” see Dkt. No 426, at p. 1, and it therefore was, and still
      is, necessary to repeat things to him many times, because it appears that he has trouble
      understanding things that have just been explained to him.

              Mr. Guzmán has also complained of daily headaches and ear pain. The ear pain
      has progressed to the point that, during Mr. Guzmán’s three-month trial, he was not able
      to use the earphones provided to him, and instead, the Spanish translators had to sit next
      to him and whisper to translate. In order to ease the pain, Mr. Guzmán has been using
      toilet paper as makeshift earplugs. Additionally, the air conditioner system in his cell is
      so loud, that he is unable to sleep through the night.

             Food and other commissary items are routinely withheld without apparent reason
      or explanation. While other inmates in the SHU unit receive water bottles and
      comestibles every week, or every other week, that is not the case for Mr. Guzmán. Mr.
      Guzmán gets a commissary list once a week, and every week, Mr. Guzmán attempts to


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      purchase water bottles among other things. Over the last six months, Mr. Guzmán has
      only received a total of 22 small water bottles, even though MCC promised to sell him
      six small water bottles every two weeks.

              This is especially distressing considering that MCC New York was opened in
      1975. The pipes are old, and Mr. Guzmán can taste and see mold coming out of the water
      faucet. Clearly, this is not the best water to drink, and is likely detrimental to his health as
      mold exposure can cause a variety of medical issues. Similarly, water depravation can
      cause dehydration and kidney stones.

               When Mr. Guzmán was represented by the Federal Defenders of New York
      (“FDNY”), they faced these problems as well, and spent hours trying to address some of
      these issues of confinement affecting Mr. Guzmán, and, “after over a month of litigation
      within the BOP, the office secured the right of Mr. Guzmán to purchase the bottled water
      that is readily available to inmates in general population.” See Dkt. No. 61, at p. 5.
      However, repeated requests by counsel and our client, to have the MCC sell Mr. Guzmán
      the six water bottles every two weeks that he was promised, have landed on deaf ears.

              In U.S. v. Brooks, the Eastern District of New York recognized that only one hour
      of outdoor exercise in a cage, no contact with other inmates, and restricted commissary,
      family and religious visiting and telephone privileges, for an inmate who has not
      committed a disciplinary infraction, are severe conditions of confinement. No. 07-CR-
      00187 (CPS), 2008 WL 4693335, at *3 (E.D.N.Y. Oct. 23, 2008). In Brooks, after the
      defendant was sentenced to 37 months imprisonment, he filed a motion for a reduction of
      his sentence based on his conditions of confinement before sentencing. The NYPD
      learned that defendant’s friend was murdered and that defendant was the subject of a
      death threat. Id. at 1. The NYPD passed this information on to the United States
      Attorney’s Office, which in turn, informed the BOP. Id. Thereafter, the BOP determined
      that defendant should be placed in protective custody and transferred to the Special
      Housing Unit (“SHU”) of the MDC. Id. While defendant was in the SHU, he was not
      permitted religious or family visits and was only permitted one telephone call per month.
      Id. He was restricted to his cell for twenty-three hours a day. Id. The cell was unsanitary
      and the food he was served was substandard, leading him to lose twenty pounds, and
      develop kidney stones. Id. Shortly after sentencing, defendant filed a motion for
      reduction of sentence based on the conditions of confinement in the SHU. Id. The
      defendant argued that his sentence was the result of clear error, because it did not take
      into account the conditions of pre-sentence confinement. Id. at 3. Defendant argued that
      the conditions he suffered were dramatically harsher than the conditions of imprisonment
      for the general population at the MDC. Id. The Court took into account the defendant’s
      condition of confinement, and granted a reduction of sentence. Id. The Court cited the
      Bureau of Prisons Policy, Inmate Discipline and Special Housing Units, § 5270.07, ch. 9,
      p. 9., which says, “An inmate housed in administrative detention [is to be provided with]
      the same general privileges given to inmates in the general population…Institutions shall
      provide commissary privileges and reasonable amounts of personal property...” Id. at 3.
      The Court concluded that:




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              Having reviewed BOP policy and crediting defendant’s statements about
              the conditions of his confinement, I conclude that the restrictions placed
              on him were severe relative to the conditions of confinement for the
              general population at the MDC. For approximately ten months, defendant
              was confined to his cell for 23 hours a day, only permitted one hour per
              day of outdoor exercise in a cage, had no contact with other inmates, and
              had restricted commissary… even though he had not committed a
              disciplinary infraction. While the extent of defendant’s physical
              deterioration may not have been extreme, the impact on his mental health
              has been severe. Defendant’s descriptions of the negative psychological
              consequences he has suffered comport with cases and studies addressing
              the harsh impact that prolonged solitary confinement may have on
              an inmate’s mental health…Given the length and nature of defendant’s
              confinement in the SHU, I conclude that the conditions defendant suffered
              were severe and fell upon him in a disproportionate manner relative to the
              MDC general population. Accordingly, defendant’s motion is granted…

      Id. at 4.

             Similarly, in this case, Mr. Guzmán is on administrative segregation, which is not
      meant to be a form of punitive segregation. However, he has restricted commissary.
      Counsel has repeatedly asked MCC staff to provide Mr. Guzmán with general population
      commissary list, but that request has also been ignored.

               These types of restrictions have no relation to the security concerns and they only
      serve to punish Mr. Guzmán, and further his sense of frustration and isolation. This has
      resulted in a profound effect on his general health and wellbeing, which in turn affects his
      ability to help in his own defense.

              In Wilson v. Beame, Judge Weinstein stated,
                       The need to equalize the conditions of those administratively
              segregated is recognized by the Department of Corrections itself, for
              Order 33 mandates that equality. It provides in part: 4.45C An individual
              in an Administrative Segregation status shall not be deprived of any right
              guaranteed by law, nor shall he be deprived of any privilege enjoyed by
              the general inmate population at large, except that the head of the
              institution may, in his discretion, permit these privileges at a different time
              and at a different place than is permitted to the general inmate population.

      380 F. Supp. 1232, 1237–38 (E.D.N.Y. 1974).

             In this case, Mr. Guzmán is being deprived of privileges enjoyed by the general
      population, specifically general population commissary, outdoor exercise, and the
      opportunity to purchase bottled water, even though he is in administrative segregation.
      MCC officials are not permitting any of these privileges to Mr. Guzmán.




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            The Court advised, “if the defendant encountered similar problems in the future,
      he may bring those issues to the attention of the Court.” See Dkt. No. 71, at p. 8.
      Consequently, we see no alternative but to bring these issues to the attention of the Court.

                                 ARGUMENT
          THE MCC’S REFUSAL TO PERMIT MR. GUZMÁN ANY OUTDOOR
        EXERCISE AND TO TREAT HIM ON AN EQUAL FOOTING WITH OTHER
        DETAINEES WHO HAVE VIOLATED NO REGULATIONS CONSTITUTES
           IMPERMISSIBLE PUNISHMENT AND VIOLATES A CONVICTED
                   PRISONER’S EIGHTH AMENDMENT RIGHT.

          Mr. Guzmán is singled out for punishment, isolation and disparate treatment,
      including an abject denial of fundamental access to basic outdoor exercise. As set forth
      below, his treatment clearly violates the Eighth Amendment standards applicable to
      convicted prisoners.

         A. Applicable Standards

             1. Eighth Amendment Standards of Review

              As a convicted prisoner, but not yet sentenced, Mr. Guzmán’s constitutional claim
      falls under the Eighth Amendment Clause, which prohibits cruel and unusual punishment
      by depriving him of outdoor exercise. See U.S. Const. amend. VIII. “It is well
      established, and the majority does not dispute, that pain or other suffering that is part of
      the punishment imposed on convicted criminals is subject to Eighth Amendment scrutiny
      without regard to an intent requirement.” Wilson v. Seiter, 501 U.S. 294 (1991).

              The United States Supreme Court has noted “no static test can exist by which
      courts determine whether conditions of confinement are cruel and unusual, for the Eighth
      Amendment must draw its meaning from the evolving standards of decency that mark the
      progress of a maturing society.” Trop v. Dulles, 356 U.S. 86, 101 (1958); see also Rhodes
      v. Chapman, 452 U.S. 337, 346 (1981); see also Kennedy v. Louisiana, 554 U.S. 407, 419
      (2008). “Evolving standards of decency must embrace and express respect for the dignity
      of the person, and the punishment of the criminals must conform to that rule.” Id. at 420.

              The Southern District of New York has also recognized that “rather than provide
      courts with a fixed formula to determine whether particular conditions constitute cruel
      and unusual punishment, the Eighth Amendment requires courts to look to the evolving
      standards of decency that mark the progress of a maturing society” Davidson v. Coughlin,
      968 F. Supp. 121, 128 (S.D.N.Y. 1997); see also Crawford v. Cuomo, 796 F. 3d 252, 249
      (2d Cir. 2015).

             2. Outdoor Exercise

              The Supreme Court of the United States, and courts across the nation, have long
      recognized the importance of outdoor exercise for a prisoner’s health and well-being, and
      that unreasonable imposition of isolation violates constitutional rights.


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              In her opinion in Apodaca v. Raemish, Justice Sotomayor recognized the dangers
      of depriving an inmate of outdoor exercise:

               I write to note, however, that what is clear all the same is that to deprive a
               prisoner of any outdoor exercise for an extended period of time in the
               absence of an especially strong basis for doing so is deeply troubling—and
               has been recognized as such for many years. Then–Judge Kennedy
               observed as much in 1979, ruling that, “in the absence of an adequate
               justification from the State, it was cruel and unusual punishment for a
               prisoner to be confined for a period of years without opportunity to go
               outside except for occasional court appearances, attorney interviews, and
               hospital appointments.” See Spain v. Procunier, 600 F.2d 189, 200 (9th
               Cir. 1979). And while he acknowledged that various security concerns—
               including the safety of staff and other prisoners and preventing escape—
               could justify not permitting plaintiffs to mingle with the general prison
               population, he observed that those generalized concerns did “not explain
               why other exercise arrangements were not made.” Ibid. The same inquiry
               remains essential today, given the vitality—recognized by the Tenth
               Circuit in other cases —of the basic human need at issue. It should be clear
               by now that our Constitution does not permit such a total deprivation in
               the absence of a particularly compelling interest.

      139 S. Ct. 5, at 8. The facts in Apodaca are simple; defendants Apodaca, Vigil, and Lowe
      were all in administrative segregation, also known as solitary confinement. Id. at 251.
      They were all allowed only an hour a day of exercise in an indoor designated area for
      between 11 and 25 months. Id. In 2015, all three filed lawsuits seeking damages in the
      District of Colorado, alleging that this deprivation of outdoor exercise and sunlight
      violated their Eighth Amendment rights to be free from cruel and unusual punishment. Id.
      Respondents, the Executive Director of the Colorado Department of and the Warden of
      the Colorado State Penitentiary moved to dismiss both cases. The District Court denied
      the motions to dismiss. Id. The U.S. Court of Appeals for the Tenth Circuit reversed the
      denials, concluding that its prior precedents allowed reasonable debate on the
      constitutionality of disallowing outdoors exercise for two years and one month in Lowe’s
      case,1 or, moreover, 11 months in Apodaca and Vigil’s case.2 The petitioners sought
      certiorari, arguing “that the Tenth Circuit had diverged from the common practice among
      the Courts of Appeals of allowing a deprivation of outdoor exercise only when it was
      supported by a sufficient security justification.” See Pet. for Cert. in No. 17–1284, at pp.
      2–3; Pet. for Cert. in No. 17–1289, at pp. 2–3. Justice Sotomayor recognized,

               …the petitioners were correct that the presence (or absence) of a
               particularly compelling security justification has, rightly, played an
               important role in the analysis of the Courts of Appeals. But the litigation
               before the lower courts here did not focus on the presence or absence of a
               valid security justification, and therefore the factual record before this

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          864 F.3d 1205, 1209 (2017)
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          864 F.3d 1071, 1078 (2017)

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             Court—as well as the legal analysis provided by the lower courts—is not
             well suited to our considering the question now.

      Id. at 251.Consequently, the Court was inclined to deny the writs of certiorari.

              The debate in Apodaca was not about whether such solitary confinements
      conditions are cruel. Instead, the issue focused on whether access to outdoor recreation
      for inmates is established clearly enough as a constitutional right that not providing it
      means corrections officers can be sued. Even though the Supreme Court denied the writs
      of certiorari, Justice Sotomayor made an important point against depriving a prisoner of
      any outdoor exercise for an extended period of time; “We are no longer so unaware.
      Courts and corrections officials must accordingly remain alert to the clear constitutional
      problems raised by keeping prisoners like Apodaca, Vigil, and Lowe in near-total
      isolation from the living world...” Id. at 251.

              The Second Circuit has not fully explored the issue of outdoor exercise, but other
      courts have decided on this matter and are in agreement that some form of outdoor
      exercise is necessary for inmates. “There is substantial agreement among the cases in this
      area that some form of regular outdoor exercise is extremely important to the
      psychological and physical well-being of the inmates.” Thomas v. Ponder, 611 F.3d
      1144, 1152 (9th Cir. 2010). The Court should therefore use its discretionary powers to
      grant this relief.

              However, in Anderson v. Coughlin, the Second Circuit did note that one hour per
      day of “outdoor” exercise is constitutionally sufficient for Eighth Amendment purposes.
      757 F.2d 33, 36 (2nd Cir. 1985). In Anderson, petitioners confined to the SHU in two
      different state prisons (Green Haven and Sing Sing) brought an action challenging
      conditions of confinement. Id. at 33. The prisoners were confined to the SHU serving
      time in segregation as punishment for violations of prison rules. Id. at 34. Inmates in
      SHU in both prisons have access to outdoor exercise, but are not afforded access to any
      indoor exercise area. Id. The prisoners claimed that they were entitled to indoor exercise
      areas and also entitled to recreational equipment at the outdoor exercise areas. Id. “With
      outdoor recreation space provided and opportunity for its daily use assured, the absence
      of additional exercise space indoors and of recreational equipment for use in the outdoor
      space is not a denial of constitutional rights” Id. at 36.

             Years ago, then-Judge Kennedy recognized the importance of outdoor exercise
      for inmates, noting “the substantial agreement among the cases in this area that some
      form of regular outdoor exercise is extremely important to the psychological and physical
      well-being of the inmates.” Spain v. Procunier, 600 F.2d 189, 199 (9th Cir. 1979).

             The Seventh Circuit has established a guideline that outdoor exercise privileges
      cannot be denied for longer than 90 days. In Davenport v. DeRobertis, 844 F. 2d, 1310,
      1315-16 (7th Cir. 1988), the Court upheld the district court’s injunction mandating that
      prisoners held in segregation longer than 90 days must be given at least five hours of
      outdoor exercise weekly.



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             Here, Mr. Guzmán is allowed five hours a week of indoor exercise only. He is not
      allowed any outdoor exercise. There is no strong basis for prohibiting Mr. Guzmán any
      outdoor access. The point to be made is the importance of outdoor exercise with sunlight
      and not just indoor exercise. Outdoor exercise is important for the psychological and
      physical well being of Mr. Guzmán, especially since he’s been deprived for far too long.
      There is extensive research and scientific opinion supporting the benefits of outdoor
      exercise for inmates. Therefore, based on these expert opinions and case law, it follows
      that Mr. Guzmán should have access to outdoor exercise for his psychological and
      physical well being. Spain, 600 F.2d at 199.

             3. Safety Exception and Cost or Inconvenience

              The Second Circuit has stated, “a prisoner may be denied out-of-cell exercise
      under what is termed a safety exception.” Williams v. Greifinger, 97 F.3d 699, 704 (2nd
      Cir. 1996). The Second Circuit has expressly recognized that deprivations of exercise for
      safety reasons “must be limited to unusual circumstances or circumstances in which
      exercise is impossible because of disciplinary needs.” Id. In addition, even if a prisoner is
      deemed an unusual security risk, that fact alone would not justify subjecting him to a
      blanket policy denying such prisoners any opportunity for out-of-cell exercise. “[T]he
      fact that an inmate is violent may justify segregating him or her from the general
      population, but does not necessarily justify a prison’s failure to make
      other exercise arrangements.” Id. at 704-05; see also Williams v. Goord, 142 F. Supp. 2d
      416, 429 (S.D.N.Y. 2001).

              In Apodaca v. Raemisch, Justice Sotomayor revisited then-Judge Kennedy’s
      opinion and further stated, “It should be clear by now that our Constitution does not
      permit such a total deprivation in the absence of a particularly compelling interest” 139 S.
      Ct. at 8.

              In Spain v. Procunier, the court observed that “in the absence of an adequate
      justification from the State, it was cruel and unusual punishment for a prisoner to be
      confined for a period of years without opportunity to go outside except for occasional
      court appearances, attorney interviews, and hospital appointments” 600 F.2d. at 200.

              In Spain, the inmates in question were deemed responsible for a number of deaths
      in an escape attempt and were considered both risks of violence and targets of retribution.
      The prisoners were detained and deprived of all outdoor exercise for periods of up to
      four-and-a-half years. Id. at 192. The court affirmed the district court finding that “[t]he
      denial of fresh air and regular exercise constitutes cruel and unusual punishment, without
      reaching the question of whether a denial is a per se violation of the eighth
      amendment.” Id. at 199. Although the state argued that the deprivation was a security
      measure to prevent violent attacks and escape attempts, the Court rejected this argument
      forcefully. As then-Judge Kennedy noted:

             The state argues that outdoor exercise was withheld to protect prison staff
             and other inmates from violent attacks by the plaintiffs, and to
             protect plaintiffs from attacks by other inmates. The state also cites the


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              objective of reducing the risk of escape, a risk which existed with
              the plaintiffs even under conditions where security was greater than in
              the prison exercise yard. These concerns justify not permitting plaintiffs to
              mingle with the general prison population, but do not explain why other
              exercise arrangements were not made,” noting that “[t]he cost or
              inconvenience of providing adequate facilities is not a defense to the
              imposition of a cruel punishment.

      Id. at 200.

               In this case, Mr. Guzmán has never had any issues with MCC staffers- therefore,
      no unusual circumstance exists. As Mr. Guzmán is permitted indoor exercise outside of
      his cell, there are no such safety concerns here. The outdoor courtyard at MCC is secured
      with wire fencing and because of the SAMs, Mr. Guzmán is not permitted to
      communicate with anyone but his legal team. His only two 15-minute phone calls per
      month with his sister are monitored by multiple federal agencies. The argument that Mr.
      Guzmán being under SAMs restrictions may justify segregating him from the general
      population, but does not justify depriving him from basic human needs such as outdoor
      exercise and natural sunlight.

              The justification for imposition of the SAMs on Mr. Guzmán was because of:

                      …a legitimate government objective…of preventing defendant
              from running the Sinaloa Cartel from prison, coordinating any escape
              from prison, or directing any attack on individuals that he may believe are
              cooperating with the Government…As the Government has recounted,
              while defendant was imprisoned in Mexico the first two times, he
              allegedly used third parties to further his narcotics trafficking enterprise,
              to plan and execute his escapes from Mexican prisons, and to intimidate
              possible cooperators.

      see Dkt. No 71, at p. 5. According to this, alone, Mr. Guzmán would not be able to plan
      and much less execute an escape, run a cartel, pass messages to third parties or intimidate
      possible cooperators. Therefore, Mr. Guzmán’s restriction on outdoor exercise at MCC is
      not rationally connected to the Government’s “legitimate purpose.” Allowing him two
      hours a week of solitary outdoor exercise will not pose a security risk and therefore
      exercise arrangements can be made so that he gets outdoor exercise and sunlight.
      Williams v. Greifinger, 97 F.3d at 704.

              The Second Circuit has also said, “that prisons may not invoke cost
      considerations in denying prisoners the opportunity to exercise.” 97 F.3d at 704–05.
      Therefore, inconvenience to the staff or cost to the facility should not be determinative
      factors to deny Mr. Guzmán outdoor exercise. MCC personnel already escorts Mr.
      Guzmán to the indoor exercise cell, so minimal efforts can be made to escort him to the
      outside courtyard on the 12th floor two hours a week at the very least, with the remaining
      three hours of the week in indoor exercise. The Ninth Circuit has also noted “The cost or



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       inconvenience of providing adequate facilities is not a defense to the imposition of a cruel
       punishment.” Spain, 600 F. 2d at 200.

          B. Application

               Under these standards, there is no question that Mr. Guzmán’s Eight Amendment
       rights are being violated by the Bureau of Prisons at the MCC New York. Despite not
       violating any prison regulations, Mr. Guzmán has been housed in the SHU unit for 27
       months and has been categorically denied any and all outside exercise since his arrival at
       the MCC in January, 2017. He has been subjected to the extreme psychological injury
       exacted by 27 months of isolation from the general population, confined to his cell most
       of the day, and being only permitted to speak to his legal team. This would be a flagrant
       violation in the case of an inmate with multiple prison write-ups. Clearly, then, it is a
       violation in the case of an inmate who has not had a single write up in his entire 27
       months of detention such as Mr. Guzmán. In numerous respects recounted above –
       regarding the sale of water bottles and access to general population commissary list – he
       is being singled out for unequal and harmful treatment relative to other detainees. There
       is no question that MCC officials are deliberately indifferent to the consequences of Mr.
       Guzmán’s detention.

               The cases cited above all stand for the singular importance of outdoor exercise to
       the basic health and welfare of the inmates to the point that its unreasonable deprivation
       constitutes a constitutional violation.

              It cannot be said that it is sufficient for Mr. Guzmán to exercise in a small indoor
       room. This disregards the 27-month deprivation of sunlight and fresh air, and fails to
       recognize the singular importance of exercise in fresh air and outdoors.

               Nor it can be said that the MCC has some “reason” for the unconscionable
       treatment of Mr. Guzmán. Some Courts have decided on this issue and have repeatedly
       rejected such rationales where they did not involve serious violations of prison rules- an
       argument that is completely unavailable here due to Mr. Guzmán’s exemplary behavior
       during the past 27 months at MCC. In Williams v. Greifinger, the court expressly
       recognized that deprivations of exercise for safety reasons “must be limited to unusual
       circumstances or circumstances in which exercise is impossible because of disciplinary
       needs…The fact that an inmate is violent may justify segregating him or her from the
       general population, but does not necessarily justify a prison’s failure to make
       other exercise arrangements” 97 F.3d at 704-05.

               This issue is not a petty complaint “that can be resolved by the parties without
       resort to judicial intervention such as BOP’s removal of the clock that defendant
       purchased from commissary or BOP’s decision to permit defendant to watch only nature
       programming or the same movie over and over.” See Dkt. No 71, at p. 8. This is a valid
       complaint that is affecting Mr. Guzmán’s mental health and has to be resolved through
       judicial intervention.

                                            CONCLUSION


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               The Court should order the MCC New York to give Mr. Guzmán access to at least
       two hours of outdoor exercise a week so that he can absorb direct natural sunlight as well
       as fresh air. Furthermore, the Court should order that Mr. Guzmán be allowed to purchase
       six water bottles every week, access to the general population commissary list and access
       to earplugs.


                                                     Respectfully Submitted,


                                                     /s/ Mariel Colón Miró, Esq.
                                                     Attorney for Joaquín Guzmán Loera



       cc: All counsel via ECF




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